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            to move from fieldDocument
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                                         69this form.
                                             Filed 05/01/23 Page 1 of 1
NOTICE OF APPEARANCE IN A CRIMINAL CASE



                                   CLERK’S OFFICE
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                               WASHINGTON, D.C. 20001


UNITED STATES OF AMERICA


        vs.                                         Criminal Number         1:21-CR-563

Victoria Charity White
            (Defendant)




TO:      ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT I APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.


I AM APPEARING IN THIS ACTION AS:              (Please check one)


 9       CJA                9      RETAINED          9■      FEDERAL PUBLIC DEFENDER



                                                                  (Signature)



                                           PLEASE PRINT THE FOLLOWING INFORMATION:


                                          Zach Crowdes           AT0010901
                                                          (Attorney & Bar ID Number)
                                          Federal Public Defender's Office
                                                                 (Firm Name)
                                          222 Third Ave SE, Suite 290
                                                               (Street Address)

                                          Cedar Rapids, IA 52401
                                           (City)                 (State)          (Zip)
                                          (319) 363-9540; zach_crowdes@fd.org
                                                             (Telephone Number)
